Case 2:19-cv-00468-JPH-DLP Document 32 Filed 12/06/19 Page 1 of 1 PageID #: 1328
         Case: 19-3399   Document: 1-3     Filed: 12/05/2019  Pages: 1



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



 Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
         Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
              Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                          NOTICE OF DOCKETING - Short Form
  December 5, 2019


  To:         Laura A. Briggs
              District/Bankruptcy Clerk

  The below captioned appeal has been docketed in the United States Court of Appeals for the
  Seventh Circuit:

                     Appellate Case No: 19-3399

                     Caption:
                     DANIEL L. LEE,
                     Petitioner - Appellee

                     v.

                     T. J. WATSON, Warden,
                     Respondent - Appellant


                     District Court No: 2:19-cv-00468-JPH-DLP
                     Clerk/Agency Rep Laura A. Briggs
                     District Judge James P. Hanlon

                     Date NOA filed in District Court: 12/05/2019


  If you have any questions regarding this appeal, please call this office.



  form name: c7_Docket_Notice_short_form(form ID: 188)
